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GRIFFIN HAMERSKY LLP
420 Lexington Avenue, Suite 400
New York, NY 10170
(646) 998-5580
Richard K. Milin
Michael D. Hamersky
Counsel for The Official Committee of Unsecured
Creditors on behalf of the bankruptcy estate of
The Great Atlantic & Pacific Tea Company, Inc., et al.
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------x
In re:                                                                    :
                                                                         :    Chapter 11
THE GREAT ATLANTIC & PACIFIC TEA                                          :
COMPANY, INC., et al.,                                                    :   Case No. 15-23007 (RDD)
                                      Debtors.                            :
--------------------------------------------------------------------------x
                                                                         :
The Official Committee of Unsecured Creditors on                         :
behalf of the bankruptcy estate of THE GREAT                             :    Adv. Proc. No. 17-08264 (RDD)
ATLANTIC & PACIFIC TEA COMPANY, INC., et al.,                            :
                                                                         :
                                     Plaintiff,                          :
                     v.                                                  :
                                                                         :
McKESSON CORPORATION,                                                    :
                                                                         :
                                      Defendant.                         :
--------------------------------------------------------------------------x
                                                                         :
The Official Committee of Unsecured Creditors on                         :
behalf of the bankruptcy estate of THE GREAT                             :    Adv. Proc. No. 17-08265 (RDD)
ATLANTIC & PACIFIC TEA COMPANY, INC., et al.,                            :
                                                                         :
                                     Plaintiff,                          :
                     v.                                                  :
                                                                         :
McKESSON PHARMACY SYSTEMS LLC,                                           :
                                                                         :
                                      Defendant.                         :
--------------------------------------------------------------------------x
                                                                         :
The Official Committee of Unsecured Creditors on                         :
behalf of the bankruptcy estate of THE GREAT                             :    Adv. Proc. No. 17-08266 (RDD)
ATLANTIC & PACIFIC TEA COMPANY, INC., et al.,                            :
                                                                         :
                                     Plaintiff,                          :      NOTICE OF SERVICE OF
                     v.                                                  :     PLAINTIFF’S SUBPOENA TO
                                                                         :      AMERISOURCEBERGEN
McKESSON SPECIALTY CARE                                                  :
                                                                              CORPORATION COMMANDING
DISTRIBUTION CORPORATION,                                                :
                                                                         :
                                                                                 THE PRODUCTION OF
                                      Defendant.                         :           DOCUMENTS
--------------------------------------------------------------------------x
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                   NOTICE OF SERVICE OF PLAINTIFF’S SUBPOENA
                     TO AMERISOURCEBERGEN CORPORATION
                  COMMANDING THE PRODUCTION OF DOCUMENTS


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT, pursuant to rule 45(b)(4) of the Federal Rules of Civil

Procedure (made applicable by rule 9016 of the Federal Rules of Bankruptcy Procedure), Plaintiff,

The Official Committee of Unsecured Creditors on behalf of the bankruptcy estate of The Great

Atlantic & Pacific Tea Company Inc., et al., served the following party with a subpoena to produce

documents attached as Exhibit A hereto:

         Deponent                Date of Production             Place of Deposition and/or
                                                                        Production
 AmerisourceBergen           August 25, 2021               Griffin Hamersky LLP
 Corporation                 5:00 p.m. EST                 420 Lexington Avenue, Suite 400
                                                           New York, New York 10170


Dated: August 3, 2021

                                                    GRIFFIN HAMERSKY LLP

                                                    By: /s/ Richard K. Milin
                                                    Scott A. Griffin
                                                    Michael D. Hamersky
                                                    Richard K. Milin
                                                    420 Lexington Avenue, Suite 400
                                                    New York, New York 10170
                                                    Telephone: (646) 998-5580
                                                    Facsimile: (646) 998-8284

                                                    Counsel for The Official Committee of
                                                    Unsecured Creditors on behalf of the
                                                    bankruptcy estate of The Great Atlantic &
                                                    Pacific Tea Company, Inc., et al.




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                                 EXHIBIT A
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                                        Pg 4 of 9
                                         UNITED STATES BANKRUPTCY COURT
                    Southern
  _________________________________________                      New York
                                            District of _________________________________________
       The Great Atlantic & Pacific Tea Company, Inc., et al.
In re __________________________________________
                                      Debtor
                                                                                                 15-23007 (RDD)
                                                                                     Case No. _____________________
           (Complete if issued in an adversary proceeding)
 The Official Committee of Unsecured Creditors on behalf of the                                11
                                                                                     Chapter ___________
 bankruptcy estate of The Great Atlantic & Pacific Tea Company, Inc., et al.
_________________________________________
                                      Plaintiff
                                         v.
                                                                                                     17-08264 (RDD)
                                                                                     Adv. Proc. No. ________________
 McKesson Corporation
__________________________________________
                      Defendant

                                          SUBPOENA TO TESTIFY AT A DEPOSITION
                                   IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
  To: AmerisourceBergen Corporation
       (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:

  PLACE        Griffin Hamersky LLP                                                                             DATE AND TIME
               420 Lexington Avenue, Suite 400
               New York, New York 10170                                                                         August 25, 2021 at 5:00 p.m.

  The deposition will be recorded by this method:

   xProduction: YOU ARE COMMANDED to produce the documents, electronically stored information, or tangible
    things as set forth on THE ATTACHMENT HERETO, and must permit inspection, copying, testing, or sampling
            of such documents, electronically stored information, or tangible things at the above time and place.
          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

          8/3/21
  Date: _____________
                                      CLERK OF COURT

                                                                                     OR
                                      ________________________                                /s/ Richard K. Milin
                                                                                             ________________________
                                      Signature of Clerk or Deputy Clerk                           Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
  The Official Committee of Unsecured
  ____________________________        , who issues or requests this subpoena, are: Richard K. Milin, Esq.
  Creditors on behalf of the bankruptcy estate of                                                              Griffin Hamersky LLP, 420 Lexington Ave., Ste 400,
  The Great Atlantic & Pacific Tea Company, Inc., et al.                                                       New York, NY 10170 Email: rmilin@grifflegal.com
                                                                                                                                   Tel: (646) 998-5580
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)
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                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

                                                                              Mort Branzburg mbranzburg@klehr.com
x I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
                                               8/3/21
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.
        8/3/21
Date: _______________
                                                                                         /s/ Katie F. Warren
                                                                                   _______________________________________________

                                                                                         Katie F. Warren, Paralegal
                                                                                   _______________________________________________
                                                                                                                Printed name and title


                                                                                      420 Lexington Avenue, Suite 400, New York, New York 10170
                                                                                   ________________________________________________
                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                ATTACHMENT TO SUBPOENA

        1. All letters or electronic communications between AmerisourceBergen Corporation

(“ABDC”) and Marsh Drugs, LLC (“Marsh”) during 2017 concerning Marsh’s payment or credit

terms, or any change in those terms.

        2. All letters or electronic communications between Brenda Axe, Aubrey Flowers or

Ann Miranda of ABDC and Marsh during 2017.

        3. The Prime Vendor Agreement between ABDC and Marsh dated on or about October

1, 2014 (the “Prime Vendor Agreement”) and the Credit Agreement between those parties

executed on or about that date.

        4. ABDC’s “Credit and Collection Policy and Procedure Guidelines” in effect between

2015 and 2017.

        5. All communications between ABDC or its counsel and Jeffrey Garfinkle, any lawyer

from the Buchalter law firm, or McKesson Corporation or any of its affiliates (“McKesson”)

with respect to Plaintiff in this adversary proceeding, The Great Atlantic & Pacific Tea

Company, Inc., et al. (“A&P”), Marsh, McKesson’s subpoena to ABDC or the documents

requested by McKesson’s subpoena to ABDC.



        Note: The foregoing document requests, and any other subpoena served in this adversary

proceeding, are subject to Local Rule 26.3 of the U.S. District Court for the Southern District of

New York, which is reprinted on the next page for your convenience.

        Also, the terms “A&P”, “Buchalter”, “Marsh,” “McKesson” and “ABDC” should be

interpreted to include their respective officers, directors, employees, partners, corporate parent,

subsidiaries and affiliates.



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Local Civil Rule 26.3. Uniform Definitions in Discovery Requests
       (a) The full text of the definitions and rules of construction set forth in paragraphs (c) and
(d) is deemed incorporated by reference into all discovery requests. No discovery request shall
use broader definitions or rules of construction than those set forth in paragraphs (c) and (d).
This rule shall not preclude (1) the definition of other terms specific to the particular litigation,
(2) the use of abbreviations, or (3) a more narrow definition of a term defined in paragraph (c).
       (b) This rule is not intended to broaden or narrow the scope of discovery permitted by the
Federal Rules of Civil Procedure.
       (c) The following definitions apply to all discovery requests:
               (1) Communication. The term “communication” means the transmittal of
       information (in the form of facts, ideas, inquiries or otherwise).
               (2) Document. The term “document” is defined to be synonymous in meaning and
       equal in scope to the usage of the term “documents or electronically stored information”
       in Fed. R. Civ. P. 34(a)(1)(A). A draft or non-identical copy is a separate document
       within the meaning of this term.
               (3) Identify (with respect to persons). When referring to a person, “to identify”
       means to give, to the extent known, the person’s full name, present or last known address,
       and when referring to a natural person, additionally, the present or last known place of
       employment. Once a person has been identified in accordance with this subparagraph,
       only the name of that person need be listed in response to subsequent discovery
       requesting the identification of that person.
               (4) Identify (with respect to documents). When referring to documents, “to
       identify” means to give, to the extent known, the (i) type of document; (ii) general subject
       matter; (iii) date of the document; and (iv) author(s), addressee(s) and recipient(s). In the
       alternative, the responding party may produce the documents, together with identifying
       information sufficient to satisfy Fed. R. Civ. P. 33(d).
               (5) Parties. The terms “plaintiff” and “defendant” as well as a party’s full or
       abbreviated name or a pronoun referring to a party mean the party and, where applicable,
       its officers, directors, employees, partners, corporate parent, subsidiaries or affiliates.
       This definition is not intended to impose a discovery obligation on any person who is not
       a party to the litigation.

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              (6) Person. The term “person” is defined as any natural person or any legal entity,
     including, without limitation, any business or governmental entity or association.
              (7) Concerning. The term “concerning” means relating to, referring to, describing,
     evidencing or constituting.
     (d) The following rules of construction apply to all discovery requests:
              (1) All/Any/Each. The terms “all,” “any,” and “each” shall each be construed as
     encompassing any and all.
              (2) And/Or. The connectives “and” and “or” shall be construed either
     disjunctively or conjunctively as necessary to bring within the scope of the discovery
     request all responses that might otherwise be construed to be outside of its scope.
              (3) Number. The use of the singular form of any word includes the plural and vice
     versa.




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